       Case 3:17-cv-04002-LB Document 64-2 Filed 02/08/18 Page 1 of 2



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12                              UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14                                      SAN FRANCISCO DIVISION

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16   OPEN SOURCE SECURITY, INC., and                 Case No. 3:17-cv-04002-LB
     BRADLEY SPENGLER,
17                                                   [PROPOSED] ORDER GRANTING
                          Plaintiffs,                DEFENDANT’S MOTION FOR
18                                                   SANCTIONS AGAINST PLAINTIFFS’
            v.                                       COUNSEL
19
     BRUCE PERENS, and Does 1-50,                    Judge: Hon. Laurel Beeler
20
                          Defendants.
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28                                                               [PROPOSED] ORDER GRANTING
                                                                    DEFENDANT’S MOTION FOR
                                                                                   SANCTIONS
                                                                     CASE NO. 3:17-CV-04002-LB
       Case 3:17-cv-04002-LB Document 64-2 Filed 02/08/18 Page 2 of 2



 1                                        [PROPOSED] ORDER
 2          Before the Court is Defendant Bruce Perens’s Motion for Sanctions pursuant to 28 U.S.C.
 3   § 1927 and the Court’s inherent authority. After considering the moving papers, opposing and
 4   reply papers, and all associated exhibits, arguments of counsel, and all other materials presented
 5   to the Court, IT IS HEREBY ORDERED THAT:
 6          ____ Mr. Perens’s Motion for Sanctions pursuant to 28 U.S.C. § 1927 and the Court’s
 7   inherent authority is GRANTED.
 8          ____ IT IS HEREBY FURTHER ORDERED that Plaintiffs’ counsel shall reimburse
 9   Mr. Perens for his attorneys’ fees and costs incurred in defending this matter in the amount of
10   $_______________.
11          IT IS SO ORDERED.
12    Dated: _____________________
13                                                     ____________________________
                                                       The Honorable Laurel Beeler
14                                                     United States Magistrate Judge
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28                                                                       [PROPOSED] ORDER GRANTING
                                                                            DEFENDANT’S MOTION FOR
                                                      1                                    SANCTIONS
                                                                             CASE NO. 3:17-CV-04002-LB
